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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                            Criminal No.: 05-282 (MJD/JJG)


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                                                 ORDER

(1) CHRISTOPHER SMITH,

              Defendant.


              Defendant Smith has filed a waiver of speedy trial in this case.

              Based on all the files, records and proceedings herein, IT IS HEREBY

ORDERED, that:

              1.      Defendant Smith’s waiver of speedy trial [docket # 152] is

GRANTED;

              2.      The time between November 16, 2005, and October 2, 2006, shall

be excluded in computing the time within which the trial in this matter must commence

under the Speedy Trial Act pursuant to Title 18, United States Code, Section

3161(h)(8)(A). The ends of justice will be served by continuing the trial date. This

finding is based upon the complex nature of this case and upon the Court’s conclusion

that the failure to grant such a continuance would unreasonably deny the parties a

right to a fair and just hearing.

Dated: November 21, 2005

                                          s/ Michael J. Davis
                                          MICHAEL J. DAVIS
                                          United States District Court Judge
